  Case 13-42398         Doc 51      Filed 10/25/18 Entered 10/25/18 10:53:24                  Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS (WORCESTER)



IN RE:                                                            Case No. 13-42398-EDK
                                                                  Chapter 13
Judith A. Duncanson,

Debtor.


                                  NOTICE OF APPEARANCE AND
                                REQUEST FOR SERVICE OF PAPERS

          You are hereby given notice that Harmon Law Offices, P.C. appears for Wells Fargo Bank, N.A.

to represent its interests in this matter. You are requested to serve a copy of each notice of any

proceeding, hearing and/or report in this matter, including, but not limited to notices required by

Bankruptcy Rule 2002 (g) and the Local Rules of Bankruptcy Procedure, upon the undersigned at the

address indicated below.



                                                    Respectfully submitted,

                                                    Wells Fargo Bank, N.A.,
                                                    By its Attorney
                                                    /s/Richard T. Mulligan

                                                    Richard T. Mulligan
                                                    BBO# 567602
                                                    Harmon Law Offices, P.C.
                                                    PO Box 610389
                                                    Newton Highlands, MA 02461
                                                    (617)558-0500
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Dated: October 25, 2018
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                             UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS (WORCESTER)



IN RE:                                                            Case No. 13-42398-EDK
                                                                  Chapter 13
Judith A. Duncanson,

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                                       CERTIFICATE OF SERVICE

        I, Richard T. Mulligan, state that on _October 25, 2018______________, I electronically filed the
foregoing document with the United States Bankruptcy Court for the District of District of Massachusetts on
behalf of Wells Fargo Bank, N.A. using the CM/ECF System. I served the foregoing document on the
following CM/ECF participants:

Josef Culik

Denise M. Pappalardo

Richard T. King


I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed with the
Court on the following non CM/ECF participants:

Judith A. Duncanson
7 Darlene Circle
Tewksbury, MA 01876-2941

Ascension Capital Group
for Sterling Jewelers
PO Box 201347
Arlington, TX 76006
                                                    Respectfully submitted,

                                                    Wells Fargo Bank, N.A.,
                                                    By its Attorney
                                                    /s/Richard T. Mulligan

                                                    Richard T. Mulligan
                                                    BBO# 567602
                                                    Harmon Law Offices, P.C.
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